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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 2 of 18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 3of18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 6 of 18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10

| Tape 2

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MIT} Ge thew and take off your sheet el price hum on

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 8of 18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page9of18

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o Mion pan var bee! ae Peck He subgect -p ek Cop b Gashea

Thaby adaws t [coke Fenders from — Ken L~ cP
Fatboy LC am * Seep L Capt. Get
Lawrtag ~ 142

Th ould break my fost heart - Zio

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 10 of 18

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ivin mine back up ~ Teel

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 11of18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 12 of 18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 13 of 18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 14 of 18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 15 of18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 16 of 18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 17 of 18

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Case 1:07-cv-01205-LG-RHW Document 346-3 Filed 04/01/10 Page 18 of 18

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